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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                 )
                                          )         4:03CR3014-1
                   Plaintiff,             )
                                          )
      vs.                                 )         MEMORANDUM
                                          )         AND ORDER
HA T.T. NGUYEN,                           )
                                          )
                   Defendant.             )


       The defendant, Ha T.T. Nguyen, has filed a motion seeking modification or
reduction of her sentence based upon pending amendments to the "crack" cocaine
Guidelines. I note that the amendments referred to by the defendant have not yet been
enacted into law. Furthermore, the amendments, as drafted, are not retroactive,
although the Sentencing Commission is considering whether to make the amendments
retroactive should the amendments be enacted. I understand that the Sentencing
Commission will hold a public hearing on that issue on November 13, 2007. It is
apparent that the defendant's motion is not now ripe. Accordingly,

     IT IS ORDERED that the defendant's motion (filing 377) will be held in
abeyance. My chambers shall call this case to my attention on January 22, 2008.

      October 17, 2007.                  BY THE COURT:

                                         s/ Richard G. Kopf
                                         United States District Judge
